                   Appendix B




Case 1:14-cv-00954-LCB-JLW Document 247-2 Filed 02/05/21 Page 1 of 26
                    Richard Kahlenberg
Workable Race Neutral Alternatives Available to UNC-Chapel Hill



                 STUDENTS FOR FAIR ADMISSIONS, INC.
                                 v.
                 UNIVERSITY OF NORTH CAROLINA, et al.

                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                     CASE NO. 1:14-CV-00954-LCB-JLW




                                                                               1




       Case 1:14-cv-00954-LCB-JLW Document 247-2 Filed 02/05/21 Page 2 of 26
                                           Socioeconomic Diversity at UNC




                  BOTTOM 20%                       INCOME DISTRIBUTION                                TOP 20%

Source: Kahlenberg Opening Report 26                                                                            2




                                  Case 1:14-cv-00954-LCB-JLW Document 247-2 Filed 02/05/21 Page 3 of 26
                                           Socioeconomic Diversity at UNC




                  Median Household Income
                  of North Carolina Residents




Source: Kahlenberg Opening Report 26                                                                      3




                                  Case 1:14-cv-00954-LCB-JLW Document 247-2 Filed 02/05/21 Page 4 of 26
                                           Socioeconomic Diversity at UNC




                  Median Household Income                                        Median Family Income
                  of North Carolina Residents                                     of a U.N.C. Student




Source: Kahlenberg Opening Report 26                                                                      4




                                  Case 1:14-cv-00954-LCB-JLW Document 247-2 Filed 02/05/21 Page 5 of 26
                                           Socioeconomic Diversity at UNC



                       • UNC’s data also show that the proportion of students who
                         are first generation college students is just 17% for the
                         first year students admitted for the fall of 2017, compared
                         to 72% of North Carolina’s adults who over the age of 25
                         lack a bachelor’s degree.




Source: Kahlenberg Opening Report 28-29                                                                   5




                                  Case 1:14-cv-00954-LCB-JLW Document 247-2 Filed 02/05/21 Page 6 of 26
                                           Socioeconomic Diversity at UNC



                       • UNC has more legacy students than first generation, even
                         though there are 451 times as many American adults
                         without a college degree as adults in the world with a
                         UNC degree.




Source: Kahlenberg Opening Report 29                                                                      6




                                  Case 1:14-cv-00954-LCB-JLW Document 247-2 Filed 02/05/21 Page 7 of 26
UNC’s Amicus Brief in Fisher v. University of Texas-Austin (2012)



     • The analysis in UNC’s amicus brief ignored the
       increase in racial diversity at expense of a limited
       academic decline.




                                                                                  7




          Case 1:14-cv-00954-LCB-JLW Document 247-2 Filed 02/05/21 Page 8 of 26
Working Group on Race-Neutral Alternatives (Polk Committee)
    • Department of Education’s Office of Civil Rights (OCR) required UNC to complete
      new race-neutral analysis by September 30, 2013. But UNC did not do so until
      February 25, 2016—about two and half years later.

    • UNC wrongly declared that an alternative would not be viable unless it would
      “maintain” or “increase” racial diversity—meaning it would produce a “greater
      or equal percentage” of URMs—and “maintain or increase” academic quality
      as opposed to Supreme Court’s guidance of working “about as well.”

    • UNC had no guidelines for what levels of diversity are required to achieve the
      educational benefits of diversity or critical mass.

    • The report’s literature review was limited, and UNC failed to update it after a former
      OCR official suggested that UNC add more to it.

    • There was no baseline analysis of how important race is in admissions, even though
      UNC had done so for gender, early decision, and legacy status.

    • UNC failed to consider a broad range and combinations of RNAs. Remarkably,
      UNC did no analysis of socioeconomic preferences.



                                                                                               8




           Case 1:14-cv-00954-LCB-JLW Document 247-2 Filed 02/05/21 Page 9 of 26
                       Committee on Race-Neutral Strategies (Panter Committee)


                       • UNC formed a successor to the Working Group to examine
                         race-neutral alternatives after SFFA filed this lawsuit.

                       • The Committee has done very little in the ensuing years,
                         conducting only a preliminary analysis with no actual
                         conclusions on the workability of race-neutral alternatives.

                       • As of December 4, 2018—nearly a year after expert reports
                         were submitted in this case—the Subcommittee on Data
                         Analytics had not reviewed my expert reports demonstrating
                         the feasibility of race-neutral alternatives, and it had no
                         specific plan for when it would do so.


Source: Panter Tr. (2nd) 80:20-81:14                                                                            9




                                       Case 1:14-cv-00954-LCB-JLW Document 247-2 Filed 02/05/21 Page 10 of 26
                     About Simulation 3: Holistic SES Race-Neutral Admissions


                    • Uses data from UNC’s own admissions process—meaning it
                      includes all of UNC’s ratings and other information like SAT
                      scores that it actually uses today in its holistic process, including:

                          1. The rigor of the academic program
                          2. Student performance (GPA and whether improving)
                          3. Extracurricular activities
                          4. Essay; and
                          5. Personal qualities



Source: Kahlenberg Opening Report 66                                                                      10




                                 Case 1:14-cv-00954-LCB-JLW Document 247-2 Filed 02/05/21 Page 11 of 26
                      About Simulation 3: Holistic SES Race-Neutral Admissions


                          • Turned off the existing preferences for race, gender,
                            early action, or being a legacy.

                          • Turned off the existing boosts that UNC gives for first
                            generation college students and students who ask to
                            waive their application fees.

                          • Turned athletic preferences back on.




Source: Kahlenberg Expert Report 67-69                                                                     11




                                  Case 1:14-cv-00954-LCB-JLW Document 247-2 Filed 02/05/21 Page 12 of 26
                                         Simulation 3’s Socioeconomic Preferences


        1. Students who themselves come from disadvantaged families: (A) first generation college;
           (B) fee waiver; or (C) eligibility for free and reduced priced lunch at in-state public schools;
        2. Students who come from socioeconomically disadvantaged neighborhoods.


        ð Each applicant who falls in one of these categories got a boost per category of equivalent
          to the legacy preference given for out of state students.




Source: Kahlenberg Expert Report 67-69                                                                        12




                                  Case 1:14-cv-00954-LCB-JLW Document 247-2 Filed 02/05/21 Page 13 of 26
                                                                         Simulation 3
    Race-Neutral Admissions with Socioeconomic Preferences (In-State and Out-of-State High Schools)

                               Racial/Ethnic Diversity                                                  Academic Characteristics
    70%                                                                                                              SAT Score            H.S. GPA
                 63.0% 63.6%                                                                 Status Quo          1335 (92/93%)              4.71
                                              UNC Admitted Class 2016-2017
    60%                                     Status Quo Race-Based Admissions                 Simulation          1320 (91%)                 4.69
                                            Race-Neutral Admissions
    50%
                                                                                                        Socioeconomic Diversity
                                                                                50%
    40%

                                                                                40%

    30%                                                                                                              32.3%
                                                                                       Status Quo
                                                                                30%
                                                                                      Race-Based                                         25.6%
                                                                                      Admissions
    20%                                                                                                      19.6%
                                14.6% 15.5%                                     20%
                                                                                      Race-Neutral                               14.8%
                                                                                       Admissions
                                                  8.8% 7.9%                           (Including SES
    10%                                                          7.3% 7.2%      10%      and Athletic
                                                                                        Preferences)


     0%                                                                         0%
                    White          Asian           African        Hispanic                                   Disadvantaged       Disadvantaged
                    Admits       American         American         Admits                                        Family          Neighborhood
                                  Admits           Admits


Source: Kahlenberg Expert Report 70, Appendix Table C.2                                                                                              13




                                   Case 1:14-cv-00954-LCB-JLW Document 247-2 Filed 02/05/21 Page 14 of 26
      Simulation 13’s Refinements to Simulation 3’s Socioeconomic Preferences
                                                            Simulation 13
        1. Students who themselves come from disadvantaged families: (A) first generation college;
           (B) fee waiver; or (C) eligibility for free and reduced priced lunch at in-state public schools;
        2. Students who come from socioeconomically disadvantaged neighborhoods;
        3. Students who come from socioeconomically disadvantaged high schools
              • Highest (1/3) percentages of free and reduced lunch, OR
              • Highest (1/3) percentages of non-English speaking population, OR
              • Highest (1/3) percentages of single-parent families from Census block.
        ð Each applicant who falls in one of these categories got a boost per category of equivalent
          to the legacy preference given for out of state students.
        ð Turn off preference for children of faculty & staff in addition to prior removed preferences.
        ð In-state applicants

Source: Kahlenberg Rebuttal Report 51-54; Reply Report 58                                                     14




                                   Case 1:14-cv-00954-LCB-JLW Document 247-2 Filed 02/05/21 Page 15 of 26
                                                                       Simulation 13
                      Holistic SES Race-Neutral Admissions (In-State Public & Private High Schools)

                              Racial/Ethnic Diversity                                                          Academic Characteristics
    80%                                                                                                                     SAT Score (%)         H.S. GPA
                                                                                                     Status Quo             1311 (90/91%)           4.67
           69.0% 69.2%                    UNC Admitted Class 2014-2015
    70%
                                          Status Quo Race-Based Admissions                           Simulation             1294 (89/90%)          4.66
                                          Holistic SES Race-Neutral Admissions
    60%
                                                                                                               Socioeconomic Diversity
    50%                                                                                  50%


    40%                                                                                  40%
                                                                                                                        34.3%
                                                                                                 Status Quo                               27.8%
    30%                                                                                  30%
                                                                                                Race-Based      24.8%
                                                                                                Admissions
                                                                                                                                  19.6%
    20%                                                                                  20%
                                                                        16.0%                   Holistic SES
                                                                                 14.1%         Race-Neutral
                         11.0% 11.5%
                                        9.0% 8.8%                                               Admissions                                                   9.5%
    10%                                                                                  10%                                                         6.3%
                                                        5.0% 5.3%

     0%                                                                                  0%
             White          Asian        African         Hispanic   Combined                                   Disadvantaged     Disadvantaged      Disadvantaged
             Admits       American      American         Admits Under-Represented                                  Family        Neighborhood           School
                           Admits        Admits                   Minority Admits

Source: Kahlenberg Reply Report Appendix Simulations 8, 13                                                                                                          15




                                   Case 1:14-cv-00954-LCB-JLW Document 247-2 Filed 02/05/21 Page 16 of 26
                   About Simulation 11: 1.5 SES Boost Race-Neutral Admissions


                     • Based on the same Arcidiacono model, but it makes some
                       adjustments.

                           1. It includes not only those students who applied to UNC but also other
                              potential applicants, using the same high school data that Prof. Hoxby
                              used.

                           2. Does not include UNC holistic ratings, but can the other race-neutral
                              criteria in the model that matter to UNC, like SATs, grades, etc.

                           3. Provided a boost for each of these SES categories which is only about
                              1/3 as large as the out of state legacy boost.




Source: Kahlenberg Expert Report 68, Rebuttal Report 38-40; Reply Report 49                                 16




                                   Case 1:14-cv-00954-LCB-JLW Document 247-2 Filed 02/05/21 Page 17 of 26
                                                                       Simulation 11
          1.5 SES Boost Race-Neutral Admissions (Including Non-Applicants; In-State Public Schools)

                               Racial/Ethnic Diversity                                                         Academic Characteristics
    80%                                                                                                                     SAT Score (%)         H.S. GPA
                   72.7%                                                                            Status Quo              1305 (90%)              4.73
           68.4%                            UNC Admitted Class 2014-2015
    70%
                                           Status Quo Race-Based Admissions                         Simulation              1279 (87/88%)          4.82
                                           1.5 SES Boost Race-Neutral Admissions
    60%                                    (Including Non-Applicants)
                                                                                                               Socioeconomic Diversity
    50%                                                                               50%
                                                                                                                        44.1%
                                                                                                                                          40.7%
    40%                                                                               40%


    30%                                                                               30%
                                                                                               Status Quo       28.5%
                                                                                              Race-Based
                                                                                              Admissions                          21.7%                      21.6%
    20%                                                                 16.3% 17.7%   20%
                                                                                            1.5 SES Boost
                           11.6%                                                             Race-Neutral
                                   9.4%          10.4%                                         Admissions                                            10.3%
    10%
                                          8.5%                                        10%
                                                         5.9% 6.3%                                (Including
                                                                                             Non-Applicants)


     0%                                                                               0%
             White            Asian        African       Hispanic   Combined                                   Disadvantaged     Disadvantaged      Disadvantaged
             Admits         American      American       Admits Under-Represented                                  Family        Neighborhood           School
                             Admits        Admits                 Minority Admits

Source: Kahlenberg Reply Report Appendix Simulation 11                                                                                                               17




                                      Case 1:14-cv-00954-LCB-JLW Document 247-2 Filed 02/05/21 Page 18 of 26
                About Simulation 8: Top 4.5% Holistic Race-Neutral Admissions


                    • Based on top percentage plan.

                    • Uses UNC’s current applicant pool (includes ratings) but turns
                      off the same preferences as before (race, legacy, early decision,
                      first generation status, fee waiver, and female applicants.).

                    • Missing seats because not all the top students from every high
                      school applied.
                          – Filled the remaining seats with the top remaining students.
                          – Similar to UT’s plan.



Source: Kahlenberg Opening Report 76-78; Reply Report 58-60                                                18




                                  Case 1:14-cv-00954-LCB-JLW Document 247-2 Filed 02/05/21 Page 19 of 26
                                                                         Simulation 8
                         Top 4.5% Holistic Race-Neutral Admissions (In-State Public/Private Schools)

                              Racial/Ethnic Diversity                                                        Academic Characteristics
    80%                                                                                                                   SAT Score (%)         H.S. GPA
                                                                                                  Status Quo              1311 (90/91%)           4.67
           69.0% 69.0%                    UNC Admitted Class 2014-2015
    70%
                                         Status Quo Race-Based Admissions                         Simulation              1280 (88%)             4.61
                                         Top 4.5% Class Rank Race-Neutral
    60%                                  Admissions (Modified from Simulation 5)
                                                                                                             Socioeconomic Diversity
    50%                                                                               50%


    40%                                                                               40%

                                                                                                                      30.4%
                                                                                             Status Quo
    30%                                                                               30%
                                                                                            Race-Based        24.8%
                                                                                            Admissions                                  23.2%
                                                                                                                                19.6%
    20%                                                                               20%
                                                                        16.0% 16.0%            Top 4.5%
                                                                                             Class Rank
                          11.0% 11.0%                                                                                                                      10.5%
                                        9.0% 10.0%                                          Race-Neutral
    10%                                                                               10%    Admissions                                            6.3%
                                                        5.0% 5.0%                           (Modified from
                                                                                             Simulation 5)
     0%                                                                               0%
             White           Asian        African        Hispanic   Combined                                 Disadvantaged     Disadvantaged      Disadvantaged
             Admits        American      American        Admits Under-Represented                                Family        Neighborhood           School
                            Admits        Admits                  Minority Admits

Source: Kahlenberg Reply Report 60                                                                                                                                 19




                                     Case 1:14-cv-00954-LCB-JLW Document 247-2 Filed 02/05/21 Page 20 of 26
             About Simulation 9: Top 4.0% Class Rank Race-Neutral Admissions


                    • Similar to Simulation 8, but includes non-applicants.

                    • Because we don’t have UNC’s ratings for all of the students in
                      this larger data set, we awarded admission to the top 4% by
                      high school. We filled about 75% of the class this way, similar
                      to UT’s plan.

                    • We filled the remaining 25% with other top performing
                      students.




Source: Kahlenberg Reply Report 62                                                                            20




                                     Case 1:14-cv-00954-LCB-JLW Document 247-2 Filed 02/05/21 Page 21 of 26
                                                                         Simulation 9
     Top 4.0% Class Rank Race-Neutral Admissions (Including Non-Applicants; In-State Public Schools)

                               Racial/Ethnic Diversity                                                          Academic Characteristics
    80%                                                                                                                      SAT Score (%)        H.S. GPA
                   75.1%
                                                                                                     Status Quo              1305 (90%)             4.73
           68.4%                           UNC Admitted Class 2014-2015
    70%
                                          Status Quo Race-Based Admissions                           Simulation              1292 (89/90%)         4.88
                                          Top 4.0% Class Rank Race-Neutral
    60%                                   Admissions (Including Non-Applicants)
                                                                                                                Socioeconomic Diversity
    50%                                                                                 50%


    40%                                                                                 40%


    30%                                                                                 30%
                                                                                                Status Quo       28.5%
                                                                                               Race-Based                24.7%
                                                                                               Admissions                          21.7% 21.1%
    20%                                                                 16.3%           20%
                                                                                14.6%            Top 4.0%
                                                                                               Class Rank                                                    13.5%
                           11.6% 10.3%
                                         8.5% 8.5%                                            Race-Neutral
    10%                                                                                 10%    Admissions                                            7.7%
                                                        5.9% 5.3%
                                                                                                   (Including
                                                                                              Non-Applicants)
     0%                                                                                 0%
             White            Asian       African        Hispanic   Combined                                    Disadvantaged     Disadvantaged     Disadvantaged
             Admits         American     American        Admits Under-Represented                                   Family        Neighborhood          School
                             Admits       Admits                  Minority Admits

Source: Kahlenberg Reply Report 63                                                                                                                                   21




                                     Case 1:14-cv-00954-LCB-JLW Document 247-2 Filed 02/05/21 Page 22 of 26
                                           Hoxby 750/20 Simulation Adjustments

                    • Hoxby ran a variety of SES preferences and admitted a particular
                      number of disadvantaged students before completing the class
                      with non-disadvantaged applicants who UNC actually admitted

                          1. One model set aside 750 seats for disadvantaged admits;

                          2. Disadvantaged was the lowest 20% of the criteria using a
                             formula that includes family, neighborhood, and school SES.
                    Adjustments made:
                    ð Because Hoxby used actual UNC admits to complete the class, her
                       system was not race-neutral.
                    ð As a result, we completed the class by using the most academically
                       qualified students remaining, using GPA and SAT (equally
                       weighted) for in-state public high school students in NCERDC.
Source: Kahlenberg Rebuttal Report 43-45                                                                   22




                                  Case 1:14-cv-00954-LCB-JLW Document 247-2 Filed 02/05/21 Page 23 of 26
                                                         Modified Hoxby Simulation
           SES 750/20% Completing Class With High SAT and GPA Students (In-State Public Schools)

                               Racial/Ethnic Diversity                                                      Academic Characteristics
    80%                                                                                                                SAT Score (%)            H.S. GPA
                   71.5%                                                                         Status Quo            1330 (92%)                  4.75
                                             UNC Admitted Class 2014-2015
    70%    66.7%                                                                                 Simulation            1303 (90%)                  4.63
                                            Status Quo Race-Based Admissions
                                            SES 750/20% Completing Class With
    60%                                     High SAT and GPA Students Race-
                                            Neutral Admissions                                              Socioeconomic Diversity
    50%                                                                               50%


    40%                                                                               40%                                              36.0% 37.6%
                                                                                              Status Quo
    30%                                                                               30%    Race-Based
                                                                                             Admissions
                                                                                                                         20.4%
    20%                                                                               20%   SES 750/20%
                                                                        16.5% 16.0%           Completing
                           12.7% 12.3%                                                         Class With        12.5%
                                           8.8% 8.2%                                        High SAT and
    10%
                                                         5.9% 6.9%                    10%
                                                                                            GPA Students
                                                                                             Race-Neutral
                                                                                              Admissions
     0%                                                                               0%
             White            Asian         African       Hispanic   Combined                                      Family              High School
             Admits         American       American       Admits Under-Represented                               Low-Income            Low-Income
                             Admits         Admits                 Minority Admits                              (Fee Waiver/Free & Reduced-Price Lunch)


Source: Kahlenberg Rebuttal Report 43-45                                                                                                                   23




                                    Case 1:14-cv-00954-LCB-JLW Document 247-2 Filed 02/05/21 Page 24 of 26
          Other Race-Neutral Strategies Available
          That Are Not Factored Into Simulations




  Use of                   Better Recruitment                    More Community
Wealth Data                  of Applicants                       College Transfers
                                (for Simulations
                                  3, 13, and 8)




                                                                                     24




      Case 1:14-cv-00954-LCB-JLW Document 247-2 Filed 02/05/21 Page 25 of 26
                                                                         25




Case 1:14-cv-00954-LCB-JLW Document 247-2 Filed 02/05/21 Page 26 of 26
